Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 1 of 8 PageID #: 210
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 2 of 8 PageID #: 211
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 3 of 8 PageID #: 212
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 4 of 8 PageID #: 213
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 5 of 8 PageID #: 214
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 6 of 8 PageID #: 215
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 7 of 8 PageID #: 216
Case 3:11-cr-00191   Document 98   Filed 11/06/12   Page 8 of 8 PageID #: 217
